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                                   1                                     UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                       SHAHID BUTTAR FOR CONGRESS
                                   4   COMMITTEE, et al.,                                     Case No. 3:21-cv-05566-EMC
                                                         Plaintiff(s),
                                   5
                                                                                              APPLICATION FOR ADMISSION OF
                                                  v.
                                   6                                                          ATTORNEY PRO HAC VICE
                                       HEARST COMMUNICATIONS,                                 (CIVIL LOCAL RULE 11-3)
                                   7   INC.,
                                                 Defendant(s).
                                   8

                                   9

                                  10           I, Sahar Fathi Aziz             , an active member in good standing of the bar of

                                  11    Texas Supreme Court                    , hereby respectfully apply for admission to practice pro hac
                                                                                                  Amicus Curiae Rutgers Law School—
                                  12   vice in the Northern District of California representing: Center for Security, Race and Religion in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Soyeun D. Choi                       , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                      211344
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16                                                           969G Edgewater Blvd, # 314
                                       123 Washington Street, Newark, NJ 07102
                                                                                               Foster City, CA 94404-3824
                                  17    MY ADDRESS OF RECORD                                   LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   973-353-2591                                            650-380-6116
                                        MY TELEPHONE # OF RECORD                               LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       sahar.aziz@law.rutgers.edu                              soyeun@soyeunesq.com
                                  20    MY EMAIL ADDRESS OF RECORD                             LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: TX 24045429 .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                    zero (0) times in the 12 months
                                               I have been granted pro hac vice admission by the Court _______
                                  27   preceding this application.
                                  28
                                           Case 3:21-cv-05566-EMC Document 52 Filed 10/20/22 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 10/20/2022                                             /s/Sahar Fathi Aziz
                                                                                                     APPLICANT
                                   5

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                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Sahar Fathi Aziz                        is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
